Case 2:02-cV-02958-STA-egb Document 112 Filed 07/26/05 Page 1 of 3 Page|D 128

  

IN THE UNITED sTATEs DIsTRlCT CoURT o
FoR THE WESTERN DISTRICT oF TENNESSEE FIUED B*’ -1 ~-~ bc
WESTERN DIVIsIoN
05 JUL 27 PH |2= 26
THoMAs P. LEWIs, ) .
. . _. 1'3§1'":.$
Plamnff, § 1'1§3€1»;'- _.1’1%>',£!1§?}41'3
vs. ) No. 02-2958 B/An
)
UN1TE1) sTATEs, )
)
Defendant/ )
Third-Party Plainciff, )
)
VS. )
)
RoNALD L. EI)MoNI)s, )
)
Third-Party Defendant. )

 

ORDER SETTING HEARING

 

Before the Court is the United States’ Objectl`on to LeWis’ and Edmonds’ Disclosures
ti]ed on June 27, 2005 . Also before the Court is Plaintiff’ s Objections to Third Pal“ty
Defendant’s Rule 26(21)(3) Disclosures filed on June 27, 2005. After consideration, it is
ORDERED that a hearing shall be held to discuss these matters before United States Magistrate
Judge S. Thomas Anderson on WEDNESI)AY, AUGUST 3, 2005 at 10:30 A.M. in' Courtroom

M-3, 9th F]oor, Federal Bul`lding, Memphis, Termessee.

§ J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

lT IS SO ORDERED.

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l This document entered on the docket sheet in compliance

with Hu|e 58 and/or 79{€1) FRCP on ' ' n

   

UND11E sTAEsT D1STIC COURT - WESTRNE loser oF TNNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 112 in
case 2:02-CV-02958 Was distributed by faX, mail, or direct printing on
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Honorable .1. Breen
US DISTRICT COURT

